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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTiN DIVISION

 COMMUNITY FINANCIAL SERVICES                      §
 ASSOCIATION OF AMERICA, LTD.                      §
 AND CONSUMER SERVICE                              §
 ALLIANCE OF TEXAS,                                §
                 PLAINTIFFS,                       §
                                                   §
 V.                                                §        CAUSE NO. A-18-CV-0295-LY
                                                   §
 CONSUMER FINANCIAL                                §
 PROTECTION BUREAU AND JOHN                        §
 MICHAEL MULVANEY,                                 §
                DEFENDANTS.                        §
                                                   §



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        Before the court in the above styled and numbered cause is the parties' Joint Status Report

filed August 17, 2018 (Clerk's Document No. 38). On June 12, 2018, the court stayed this action

pending further order of the court and directed the parties to file joint periodic status reports, with

the first report due August 17, 2018. The parties' August 17 report informs the court that the

Defendant Consumer Financial Protection Bureau is engaged in ongoing work to prepare a notice

of proposed rulemaking to reconsider the Payday Rule and expects to issue that notice of proposed

rulemaking by early 2019. Plaintiffs represent that their members will continue to face substantial

costs in preparation for compliance with the Payday Rule. Having considered the report and the case

file,

        IT IS ORDERED that the stay ordered June 12, 2018, is continued in full force and effect.
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      IT IS FURTHER ORDERED that the parties file a Joint Status Report on or before

October 31, 2018.

       SIGNED this             day of August, 2018.




                                      UNITED STATES DISTRICT JUDGE




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